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       Exhibit B
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                                                                   2023


                                                                  AWARDED TO                                                             p
                                                           Mr. Lachwani
                                                            ALOIS SOCIETY MEMBER

                                for extraordinary leadership in the fight against Alzheimer's disease.
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                Donna W. McCullough                                                                                               DATE
               Chief Mission and Field Officer
                 Alzheimer's Association

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    )'                               with sincere gratitude, this certificate is presented to


                                                 Manish Lachwani
                          in recognition of your kind and generous support of vulnerable,
                         hurting children by contributing to our Annual Calendar Appeal.

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                                                                              Bill Hritsco
                                                                              President, Yellowstone Boys and Girls Ranch Foundation

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                   Monish La.chwani                                                                                                                                                  Thank you for choosing to help
                                                                                                                                                                                     children worldwide experience
   for your prayers and generosity to the Navajo girls                                                                                                                               many "firsts."
      and boys and their families of St. Bonaventure
               Indian Mission and School.                                                                                                                                            "Whoever has a bountiful eye will be blessed,
                                                                                                                                                                                     for he shares his bread with the poor."
   February, 2022
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       and boys and their families of St. Bonaventure
                Indian Mission and School.                                                                                                                                       Manish Lachwani

                                                                                                                                                   on behalf of every brightyoung person who will now
   August, 2022                                                                                                                                    beable to attendcollege, inrecognition of a generous
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                                        special
                                   Olympics

      Dear Mr. Lachwani,

          I want to personally thank you for your additional gift of $25.00 on
      September 3, 2021.

          We simply could not do what we do without you. Day-by-day,
     athlete-by-athlete, community-by-community, you are helping create
     life-changing experiences through Special Olympics. I am so moved that
     you have chosen to open your heart and give to Special Olympics.

         Thank you again for your support. Please feel free to reach out to us
     if you have any questions about the important work your gift makes
     possible.




                                               David L Solo
                                               President & CEO
                                               Specil Olympics Northern California
     P.S. If you would like to do more and become a monthly Sustaining
          Partner, please visit our website at specialolympics.org/monthly.
          Thank you!

     No goods or services were provided to the above named donor as a
     result of this gift.




Special Olympics Northern California • 3480 Buskirk Avenue • Suite 340 • Pleasant Hill, CA 94523
                                            sonc.org
                   Accredited by Special Olympics International • SpecialOlympics.org
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            Mr. Manish Lachwani                                          It




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       Certificate ofAppreciation
                       With sincere gratitude, this certificate is presented to


                             Manish Lachwani
                       in recognition of your generosity that ensures a bright
                        future for all the children at Cal Farley'sBoys Ranch.




                                 a            BOYS RANCH
                                              FOUNDED BY CAL FARLEY




                                       ANNUAL APPEAL


                                      Better Dreams. Better Lives.



             cmb I5, 2022
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                                                                     Richard Nedelkoff
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                                  ST. LABRE INDIAN SHOOL


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                                                          Dear Manish,                                                                                                            Non-Profit


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                                                                           donation to Heifer International. I am so grateful you       HEIFER
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DOING THE                                                                  making a gift ... you are changing lives.                    l World Avenue
MOST GOOD                                                                       With your support, a struggling family in one of the
                                                                                                                                         Little Rock, AR 72202
                                                                                                                                        888.548.6437
                                                                           most impoverished comers of the world will be able to lift    Heifer.org
                                                                           themselves out of hunger and poverty, forever. You have
                                                                           truly given them hope for a better tomorrow.
                                                                                                                                             WE AeE DEEPLY GATEFUL
                                                                                 In the coming months, I look forward to sharing
                                                                            updates with you about the impact your gift is making.             roe YVoue supp0oerl
                                                                            Nothing makes me prouder than to report back to you on
                                                                           all the good your gift accomplishes.
                                                                                                                                        Manish Lachwani
                                                                                 Manish, thank you again for supporting our work.       11765 Winding Way
                                                                            I'm so honored that you have joined the Heifer family!      Los Altos, CA 94024-6331
                                                                            Together, we will end hunger and poverty one gift, one
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                                                                            family, one community at a time.
                                                                                 Sincerely,

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                                                                                  Pierre U. Ferrari
                                                                                  President and CEO
                                                                             P.S. I encourage you to learn more about the people we
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                                                                                  Heifer.org.




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    Greetings Mr. Lachwani,
       , Your help is urgently needed on behalf of your neighbors
    with intellectual disabilities in Northern California, including those
    in Los Altos and many more elsewhere.

        Now that we're able to gather together again, our athletes
    need the Special Olympics community more than ever. You
    see, the pandemic was especially challenging for them as they
    stayed inside, disconnected from their communities and
    essential support systems.

        That's why we're conducting our 2021 Annual Fund.
    We need your help today to give people with intellectual                 Thank you for accepting
    disabilities the chance to train, compete, and experience the
    joy of Special Olympics once again.
                                                                                  people as they are.
       Each of our athletes deserves a chance to show the world
    what he or she can do when given the opportunity.

        We urgently need your support so we can continue to be
    there for our athletes. Your gift of$ 33 will help ensure every
    athlete has a team to join that supports their success,
    self-confidence, and joy.

       Thank you so much,                                                                     special      if if,
                        David L Solo                                                       oiirrice        fS9?
                        President & CEO
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    .9. You can help ensure that our athletes can experience
        the support and encouragement of special Olympics.
        Please step in with your gift today.


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                                                                                 THE FACULTY, ADMINISTRATORS AND CLASS OF 2023
                                                                                             OF ST. LABRE INDIAN SCHOOL
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alzheimer's association"


          YEAR-END UPDATE

                        PREPARED FOR:

                      Mr. Manish Lachwani
                   Los Altos, CA 94024-6331


                      September 30, 2021
                     Alzheimer's Association
                         Chicago, Illinois




             800.272.3900 [ alz.org'
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                       INTRODUCTION
           Making dramatic advances in Alzheimer's care and
                   support, research and advocacy
Like a beacon of hope for people living with Alzheimer's disease. your support was felt
throughout the year. With your generosity. we helped accelerate global research. advocate for
people living with Alzheimer's and promote quality care. Thank you for helping to improve the
lives of those affected by Alzheimer's and all other dementia.


Supporting research that leads to breakthroughs
The Alzheimer's Association applauds the US. Food and Drug Administration (FDA) for their
accelerated approval of aducanumab (Aduhelm ™). This new treatment is for patients with mild
cognitive impairment (MCl) or in the mild dementia stage of Alzheimer's.

This is the first FDA-approved therapy to address the underlying biology of Alzheimer's           and
while it is not a cure. it does have the potential to give people in the early stages of Alzheimer's
more time to actively participate in daily life. have sustained independence and hold on to
memories longer. Approval of this therapy underscores the importance of early detection and
accurate diagnosis.

Thanks to your strong support. our visionary actions established foundations that have
accelerated the drug development process and made advancements like this possible.
Eliminating barriers to access is our highest priority The Alzheimer's Association is proud
to have played a role in the advancement of this treatment through our ongoing advocacy
efforts and continued dedication to increased funding for Alzheimer's and dementia research.


Advocating for equity in clinical trials
Alzheimer's and other dementia disproportionately affect older Black and Hispanic Americans
compared to older Whites. However. all too often. the clinical trial staff and participants have
not included sufficient numbers of Black. Hispanic, Asian and Native Americans. To address this
inequity, the Alzheimer's Association and the Alzheimer's Impact Movement (/A/M), a separately
incorporated advocacy affiliate of the Association. worked with bipartisan Congressional
champions on the Equity in Neuroscience and Alzheimer's Clinical Trials (ENACT) Act. This
legislation would increase clinical trial participation among underrepresented populations.

"To ensure future treatments and means of prevention are effective in all populations.
Alzheimer's and dementia trials must reflect the US. population," said Robert Egge.
Alzheimer's Association chief public policy officer and AIM executive director. "We are grateful
to the bill's sponsors for their leadership introducing legislation that prioritizes research."
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Right now. the lack of diversity in dementia clinical trials means that researchers may be missing
critical insights into how potential treatments could impact all people who are affected by
Alzheimer's and other dementia. By expanding education and outreach to underrepresented
populations. encouraging the diversity of clinical trial staff and reducing participation burden.
the ENACT Act will help increase health equity and improve research efforts.

Clinical trials are critically important for informing our understanding of Alzheimer's and
other dementia, which will allow us to identify prevention methods, better treatments and,
ultimately, a cure for this fatal disease. Thanks to your support. we are able to advance the
fight against Alzheimer's by standing behind impactful legislation like the ENACT Act


Launching new training to improve care
Personalized. skilled care is essential for improving the quality of life of people living with
Alzheimer's and all other dementia. With your generous support. the Alzheimer's Association
has launched a new training program with a certification exam aimed at educating care
professionals in long-term and community-based care settings - such as nursing homes.
assisted living and in-home care - on current evidence-based. person-centered practices to
care for people living with dementia.

The Alzheimer's Association Person-Centered Dementia Care Training Program with
essentiALZ Exam® is a new way for care professionals to receive high-quality care training
and certification based on the Association's nationally recognized Dementia Care Practice
Recommendations.

"These recommendations in daily care can transform and enhance the care that professionals
are providing to people living with dementia," said Beth Kallmyer, MSW. Alzheimer's
Association vice president of Care and Support.

As the number of Americans living with Alzheimer s or another dementia grows, it is more
important than ever for care professionals to implement the latest approaches to quality care.
With your continued support. we are providing caregivers with the tools they need to help
improve the lives of people living with Alzheimer's.



CONCLUSION
This Year-End Update highlights a small fraction of the work that your support makes
possible every day. Our continued success in providing care and support. funding research and
advancing advocacy efforts depends upon the support of generous friends and benefactors
who embrace opportunities to increase the level of investment in our work. The Alzheimer's
Association is grateful for your friendship. and we hope you will consider a gift at this
important time.




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               Manish, you're a champion in our community.
                  Thank you for loving your neighbor!


                                                                       November 15, 2021
Dear Manish,
       Thank you    thank you       for your partnership with CityTeam... and for
loving your neighbor!
       What a blessing to have you stand with us.
       As I write you today with a heart of gratitude, it occurs to me that local ministry
only succeeds when you have committed, caring champions standing with you to make
the community a better place for all.
       That's how I feel about you and other partners who give so generously to bring
help, restoration, and hope to our neighbors in need. Through your support, people
who once struggled mightily are finding a path forward.
       Your generosity is already providing food, emergency shelter, clothing, life- and
job-skills education, addiction recovery, transitional housing, and  most important
a chance to know the Lord in whose name we reach out. The outcome is transformative
for so many: stability, self-sufficiency, and new hope.
       Thank you again for your financial support, which is delivered with God's grace
to provide the redemptive care that restores lives, families, and communities.
       With gratitude,




       Glen Peterson, President and CEO
P.S.   Because I believe you truly care about our community, I'm praying you'll join
       CityTeam again now to help even more struggling families and individuals
       escape hunger, homelessness, and addiction. Through your generosity, many will
       overcome poverty, discover the path to new life, and even find faith in God.
       Thanks again!

          CityTeam • 2306 Zonker Road, San Jose, CA 95131-1115 • 408.232.5600
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Put your special gift to                                       GIVE HELP AND HOPE



work even faster!
                                                Love your neighborhood!
                                                Your donation bongs help and topa to our neighbors in need ty proteng hot meals., setter, te
                                                restoring programs, and so much one. Please give generously today




Give online quickly and securely at:
CityTeam.org/donate


Every $1 .89 you give now will reach
one person in greatest need with
HELP and HOPE.
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                                                                                                       Manish KL <mlachwani@gmail.com>



  Thank you for watering the seeds of change in South Sudan!
  1 message

  Lynn Malooly <lynn.malooly@waterforsouthsudan.org>                                                               Sun, Oct 10, 2021 at 3:26 PM
  Reply-To: cheri.crist@waterforsouthsudan.org
  To: Manish Lachwani <mlachwani@gmail.com>




                   Dear Manish,

                   Thank you for your gift of $110.00. As a donor, you are affirming your belief that clean water is
                   a basic need and human right. Your donation will help girls go to school who would otherwise
                   be walking for miles each day to find water—often dirty, contaminated water—for their
                   families. You are helping to build communities in rural South Sudan that are thriving rather
                   than struggling to survive. You are creating hope and a brighter future for one of the poorest
                   countries in the world.

                   Since 2005, Water for South Sudan has drilled more than 490 wells, providing clean water to
                   hundreds of thousands of people every day. Our vitally important work includes school
                   sanitation projects, hygiene training in villages, and rehabilitation of our older wells. To
                   see success stories, find out how to sponsor a project, and learn more about our day-to-day
                   work, please visit waterforsouthsudan.org.

                   Thank you for watering the seeds of change in South Sudan. Your gift will make an enormous
                   difference.

                   Very truly yours,


                   Lynn Malooly
                   Executive Director

                     Gift details
                      Amount                                  $110.00
                      Gift date                               10/10/2021
                      Type                                    One-time gift
                      In support of                           General Fund
                      Organization gift                       No
                      Anonymous gift                          No
                      Transaction ID                          1e6f09cc-225d-4725-8491-d9fd863552a7

                     Your information
                      Name                                    Manish Lachwani
                      Email                                   mlachwani@gmail.com
                      Phone                                   (408) 480-0824
                      Address                                 11765 Winding Way, Los Altos, CA 94024

                     Billing information
                      Address                                 11765 Winding Way, Los Altos, CA 94024
                      Payment                                 Credit card ending in 4770
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                      Federal U.S. income tax law requires us to inform you that no goods or services were provided to you in return for your gift.
                   Therefore, within the limits prescribed by U.S. law, the full amount of your gift is deductible for federal income tax purposes. Water
                    for South Sudan is an exempt organization as described in Section 501(c)(3) of the Internal Revenue Code; EIN #XX-XXXXXXX.




                                    Water for South Sudan, Inc. P.O. Box 25551 Rochester, NY 14625
                                  waterforsouthsudan.org | 585-383-0410 | info@waterforsouthsudan.org

                                                 Keep up with news from Water for South Sudan
                                                    by signing up for our email newsletter!




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                                                                                                       Manish KL <mlachwani@gmail.com>



  ​Your Donation Receipt
  1 message

  Water For South Sudan <info@water-for-south-sudan.classy-mail.org>                                                Sun, Jun 6, 2021 at 9:23 AM
  To: Manish Lachwani <mlachwani@gmail.com>


                                                           ​Thank you for your donation!


                        logo




                                              ​Thank You for Your Donation!
                      ​During these days of the coronavirus pandemic, your gift is more important than ever.
                        WFSS teams have been providing hygiene awareness education to help slow the
                       spread of the disease. We are also providing clean water to remote Primary Health
                     Care Centers by repairing broken wells and drilling new wells. Please visit our website
                               (waterforsouthsudan.org) and our social media sites for more updates.


                                                If this gift was in honor of someone, print our
                                                   acknowledgment card to let them know!




                                                                 You have donated

                                                                    $115.72
                                                                with fees included to

                                                    Water For South Sudan


                        Charged Amount                                                                                 $115.72



                        Donation Date                                                                              06/06/2021



                        Donation Number                                                                              45357144


                        Fundraiser                                                                                  FS School


                        Fundraising Team                                                                            FS School


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                        Designation                                                                 Our Work in South Sudan

                        Cell Phone

                        4084800824



                                  Your official receipt is attached to this email




                                  Manage Your Donation
                                  Login or create an account



                                  Questions?
                                  Contact admin@waterforsouthsudan.org or visit the support center for quick answers




                                                               Water For South Sudan
                                                                  PO Box 25551
                                                                Rochester, NY 14625




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                                                                                                       Manish KL <mlachwani@gmail.com>



  Thank you for watering the seeds of change in South Sudan!
  1 message

  Lynn Malooly <lynn.malooly@waterforsouthsudan.org>                                                                Fri, Sep 9, 2022 at 12:28 PM
  Reply-To: cheri.crist@waterforsouthsudan.org
  To: Manish Lachwani <mlachwani@gmail.com>




                   Dear Manish,

                   Thank you for your gift of $110.00. As a donor, you are affirming your belief that clean water is
                   a basic need and human right. Your donation will help girls go to school who would otherwise
                   be walking for miles each day to find water—often dirty, contaminated water—for their
                   families. You are helping to build communities in rural South Sudan that are thriving rather
                   than struggling to survive. You are creating hope and a brighter future for one of the poorest
                   countries in the world.

                   Since 2005, Water for South Sudan has drilled more than 500 wells, providing clean water to
                   hundreds of thousands of people every day. Our vitally important work includes school
                   sanitation projects, hygiene training in villages, and rehabilitation of our older wells. To see
                   success stories, find out how to sponsor a project, and learn more about our day-to-day work,
                   please visit waterforsouthsudan.org.

                   Thank you for watering the seeds of change in South Sudan. Your gift will make an enormous
                   difference.

                   Very truly yours,


                   Lynn Malooly
                   Executive Director

                     Gift details
                      Amount                                  $110.00
                      Gift date                               09/09/2022
                      Type                                    One-time gift
                      In support of                           General Fund
                      Organization gift                       No
                      Comment                                 Om Sai Ram, Jai Sai Ram God Bless Everyone!
                      Anonymous gift                          Yes
                      Transaction ID                          ced99dd9-a3f6-4957-b430-88fc3a87782c

                     Your information
                      Name                                    Manish Lachwani
                      Email                                   mlachwani@gmail.com
                      Address                                 11765 Winding Way
                                                              Los Altos, CA, 94024
                                                              US


                     Billing information
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                      Name                                            Manish Lachwani
                      Address                                         11765 Winding Way
                                                                      Los Altos, CA, 94024
                                                                      US
                      Payment                                         Credit card ending in 4770




                      Federal U.S. income tax law requires us to inform you that no goods or services were provided to you in return for your gift.
                   Therefore, within the limits prescribed by U.S. law, the full amount of your gift is deductible for federal income tax purposes. Water
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                                    Water for South Sudan, Inc. P.O. Box 25551 Rochester, NY 14625
                                  waterforsouthsudan.org | 585-383-0410 | info@waterforsouthsudan.org

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